Case 1:19-cr-20812-AHS Document 80 Entered on FLSD Docket 02/16/2021 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                         CASE NO.: 19-cr-20812 SINGHAL



  UNITED STATES OF AMERICA,

        Plaintiff,
  vs.

  ORLANDO CAMPA,

        Defendant.
                                  /

             OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT

        The Defendant, ORLANDO CAMPA, by way of objection to the Presentence

  Investigation Report (PSR) states as follows:

        Specific Offense Characteristics

        Mr. Campa objects to the two (2) level enhancement in paragraph 77 for

  sophisticated laundering. While the underlying criminal conduct (health care

  fraud) could arguably be considered sophisticated, Mr. Campa had absolutely no

  involvement in the healthcare fraud aspect of the conspiracy. His involvement

  was limited to the money laundering aspect of the conspiracy which did not

  involve sophisticated means. Mr. Campa was given checks made payable to his

  painting business and he cashed them. He did not use fictitious entities and/or

  conceal his identity or the identity of his business when he cashed the checks.

        Sophisticated laundering (emphasis added) is defined in Application Note

  5(A) as:
Case 1:19-cr-20812-AHS Document 80 Entered on FLSD Docket 02/16/2021 Page 2 of 4



  Objections to PSI…
  Case No.: 19-20812
  Page 2

                 … complex or intricate offense conduct pertaining to the
                execution or concealment of the 18 U.S.C. § 1956 offense.
                …and typically involves the use of- (i) fictitious entities; (ii)
                shell corporations; (iii) two or more levels (i.e., layering) of
                transactions…, or (iv) offshore financial accounts.

  In the instant case Mr. Campa did not utilize fictitious entities; shell

  corporations; layering; or offshore accounts. He simply cashed checks using his

  name and business.

         Even if the underlying criminal offense (healthcare fraud) is deemed to

  have involved sophisticated means, that conduct cannot be used to enhance Mr.

  Campa. The sophisticated means must have been used in the money laundering

  conduct and not the underlying offense. See Application Note 5 (B).

         Total Offense Level and Guideline Provisions

         Based upon the objections the total offense level should be 21 with a

  criminal history category of I and the guideline imprisonment range should be

  37-46 months.

         Factors That Warrant a Variance and Request for a Variance

         Section 3553(a) requires this Court to impose a sentence that is “sufficient,

  but not greater than necessary”. The defendant has no criminal convictions and

  one arrest over 20 years ago for petty theft (shoplifting) and a “promise to appear

  arrest” (i.e., he was never taken into custody) approximately 15 years ago for

  insufficient commercial markings (signs) on a commercial vehicle. Both cases

  were dismissed. He has been debriefed; has cooperated to the best of his ability;
Case 1:19-cr-20812-AHS Document 80 Entered on FLSD Docket 02/16/2021 Page 3 of 4



  Objections to PSI…
  Case No.: 19-20812
  Page 3




  and has accepted responsibility. He is not a dangerous offender who must be

  incarcerated to protect the community or to deter him from future criminal

  conduct. Mr. Campa is a hard-working self-employed painter who has built a

  successful business and who has to established himself as a reliable and

  trustworthy individual as attested to by several individuals in the business

  community. See letters of recommendation from Alexei Mena, Humberto

  Hernandez, and Henry Almeida which have been filed.

         Mr. Campa was arrested on December 12, 2012 and released from custody

  on home confinement with a GPS monitor. He remained on home confinement

  until January 26, 2021. During the one (1) year period that he was on home

  confinement, Mr. Campa complied with all the conditions of home confinement

  and had no violations. He worked, sometimes 6-7 days a week, and returned

  home without incident. In doing so, he has demonstrated that he is an individual

  who will be complaint with any and all court ordered conditions/requirements

  and that he is an excellent candidate for home confinement/house arrest in lieu

  of incarceration.

         I HEREBY CERTIFY that a true and correct copy was electronically filed

  this 16 day of February 2021.

                                  Respectfully submitted,


                                  BY:  s/s Joel DeFabio
                                  JOEL DEFABIO, ESQUIRE
Case 1:19-cr-20812-AHS Document 80 Entered on FLSD Docket 02/16/2021 Page 4 of 4



  Objections to PSI…
  Case No.: 19-20812
  Page 4

                               FL Bar No.: 0311529
                               201 Alhambra Circle, Suite 503
                               Coral Gables, FL 33134
                               (305) 433-6191
                               jd@jdefabio.com
